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                                                                         January 17, 2018

VIA ECF
Hon. Judge Paul G. Gardephe
United States District Court
Southern District of New York
40 Foley Square
New York, New York 10007

         Re:      Ruth Rojas Duarte v. St. Barnabas Hospital
                  Index No. 15-CV-6824 (PGG)

Dear Judge Gardephe:

        Please be advised, the undersigned is counsel to plaintiff Ruth Rojas Duarte ("Plaintiff")
in the above referenced matter. We write to respectfully request permission to make a minor
amendment to the Parties’ Proposed Joint Pretrial Order for the Jury Trial (the “JPTO”) (Dkt.
79)1. Specifically, Plaintiff seek to make a minimal change to Section I of the JPTO to identify
newly retained trial counsel, Bruce Gitlin, Esq., of Gitlin, Horn, & Van de Kieft, L.L.P., 2095
Broadway, Suite 407, New York, New York 10023. The undersigned has reached out to
Defendant’s counsel who does not consent to the proposed amendment to identify Mr. Gitlin as
counsel for Plaintiff.

        The basis for this request is that Mr. Gitlin only agreed to join Plaintiff’s legal team and
act as trial counsel in this matter just yesterday afternoon. In light of Mr. Gitlin’s very recent
addition to Plaintiff’s trial team, Plaintiff now seeks to supplement Section I of the JPTO to
identify him as trial counsel. This proposed change is minor and would not substantively affect
the case or the JPTO. Moreover, there is no prejudice to Defendant in permitting Plaintiff to
merely identify additional counsel.

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  Counsel notes that on January 12, 2018, the Parties filed a joint request to supplement and amend the JPTO to
include additional exhibits which were inadvertently not listed in the Parties’ initially filed draft. (Dkt. 101). The
Court has not yet ruled on the Parties’ application. Plaintiff requests that the present application to amend the JPTO
solely to identify additional trial counsel be granted, irrespective of the Court’s ruling on the Parties’ initial request
to supplement and amend.
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       Counsel remains available should Your Honor have any questions or concerns. Thank
you.

                                        Respectfully submitted,
                                        NESENOFF & MILTENBERG LLP

                                        By: /S/ Gabrielle Vinci
                                           Gabrielle M. Vinci, Esq.
CC:    All Counsel (Via ECF)
